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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


 STATE OF NEW YORK, et al.,

                      Plaintiffs,

             v.                                                 No. 1:18-cv-2921 (JMF)

 UNITED STATES DEPARTMENT OF
 COMMERCE, et al.,

                      Defendants.


    DEFENDANTS’ REPLY TO PLAINTIFFS’ PRETRIAL MEMORANDUM

          Plaintiffs’ pretrial memorandum demonstrates that they will be unable to meet their

burden of proof as to any of the issues that will be addressed at trial: (1) whether they have

standing; (2) whether the Secretary’s decision was arbitrary or capricious; and (3) whether the

Secretary’s decision violates the Equal Protection Clause. As their principal basis for standing,

Plaintiffs now focus on the additional funds and efforts they will allegedly expend to address

the citizenship question, relegating their claims of representational or funding injuries to

second place.     Those latter allegations are adequately rebutted in Defendants’ Pretrial

Memorandum (ECF No. 412). As to their assertions of additional expenditures, Plaintiffs are

already heavily invested in community efforts to encourage census responses; it is not apparent

that Plaintiffs can establish that they will be increasing such efforts in the future. And Plaintiffs

ignore that the Census Bureau itself plans to increase its efforts to address even the worst-case

scenarios of lower self-response, thereby obviating any additional expenditures by Plaintiffs.

Plaintiffs also assert a new basis for standing, loss of privacy, which they have never before

raised.    This purported injury, however, must be rejected because it is based on a

misunderstanding of how citizenship data will be released.
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        As to the merits, Defendants will show that the Secretary’s decision to reinstate a

citizenship question in the census was reasonable in light of the historical context, the

usefulness of the data that will be obtained, and the Census Bureau’s ability to address any

decrease in self-response, if any. Plaintiffs’ attempts to establish the contrary rely on out-of-

context statements from the record and intentionally misread agency statements or processes,

all while ignoring the practical realities of Voting Rights Act litigation. Finally, Plaintiffs will

not present any evidence linking Secretary Ross’s actions to discriminatory statements made

by others, and no other evidence will be probative of discrimination. Accordingly, Defendants

will be entitled to judgment after trial.

                                            ARGUMENT

    I. Plaintiffs Cannot Meet Their Burden To Establish Standing

        Now placing significantly less emphasis on their original conception of

representational and funding injuries, Plaintiffs implicitly concede that they do not have

enough evidence to establish standing under this theory. Moreover, in discussing these alleged

injuries, Plaintiffs continue to assume, counterfactually, that there will be no (or very limited)

mitigation of any initial decline in self-response rates through the Census Bureau’s

nonresponse follow-up efforts. See Pls.’ Pretrial Mem. 8 (ECF No. 410). In their pretrial

memorandum, Defendants previewed the evidence that will establish the error of this

assumption, in addition to the evidence demonstrating that Plaintiffs will be unable to prove

the entire chain of causation necessary to support their entirely-speculative injuries. For all

these reasons, Plaintiffs will fail to establish their standing based on purported representational

and funding injuries.

        In place of exclusive reliance on the foregoing theory, Plaintiffs’ Pretrial Memorandum

emphasizes instead the alleged injury the Plaintiffs expect to suffer through their asserted

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expenditure of additional resources to counteract their communities’ anticipated reaction to

the citizenship question at the expense of other priorities. Pls.’ Pretrial Mem. at 6. But

Plaintiffs have not pointed to detailed, specific evidence that could show concrete plans to

increase such efforts in the future and that such increased efforts, separate and apart from their

work on this, or other, litigation, see Mental Hygiene Legal Serv. v. Cuomo, 13 F. Supp. 3d 289, 300

(S.D.N.Y. 2014), aff’d, 609 F. App’x 693 (2d Cir. 2015), will produce a “perceptible

impairment” of their organizational activities. On the other hand, Defendants will present

considerable evidence of the efforts and resources that the Census Bureau will be devoting to

ensure a full and complete enumeration, including the additional efforts and resources the

Census Bureau is prepared to expend, if needed, due to the reinstatement of a citizenship

question. See Defs.’ Pretrial Memo. at 15-16. Plaintiffs’ assertion that they will somehow have

to fill in the gaps to ensure an adequate response in their communities fails to take into account

the focus and efforts that the Census Bureau will be exerting in these same communities. Put

simply, the Census Bureau’s efforts—including community outreach and communications—

will be increased such that partners, such as governmental and organizational entities, need

not invest more resources than they otherwise would. As the Supreme Court has made clear,

plaintiffs “cannot manufacture standing merely by inflicting harm on themselves based on

their fears of hypothetical future harm that is not certainly impending.” Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 416 (2013).

        As a last-ditch effort, Plaintiffs now assert a brand-new theory of standing based on a

purported loss of privacy leading to emotional injury on the part of individual members of the

non-governmental organizations. Pls.’ Pretrial Mem. at 11-13. This claim is based on the

remarkable assertion that the Census Bureau’s eventual publication of citizen voting-age

population (“CVAP”) data obtained from the 2020 census will violate the statutory

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requirement that the Census Bureau maintain the confidentiality of census responses, because

such data will be at so granular a level that the citizenship status of individuals can be deduced.

But Defendants will show that this fear is entirely speculative, baseless, and unfounded; the

Census Bureau is committed to fulfilling its obligations to preserve the confidentiality of the

census responses and is currently analyzing how best to process citizenship data to ensure this

confidentiality. Moreover, Plaintiffs’ alleged fears are particularly paradoxical in view of

Plaintiffs’ constant discovery requests for Title 13-protected data and their impatience with

the process for clearing such data for public release. Indeed, Plaintiffs’ concerns about

confidentiality come as welcome, if tardy, news to Defendants.

         As to the non-governmental plaintiffs’ original assertions that their members would

experience harm from the reduction in federal funding granted to the areas in which they live,

Plaintiffs appear to have largely abandoned this claim, downplaying its importance by asserting

that, although they will present evidence on this theory, “it is unnecessary for standing

purposes.” Pls.’ Pretrial Mem. at 10. However, that statement ignores Plaintiffs’ burden to

establish standing to pursue their equal protection claim; that claim is based on an

associational-standing theory for which Plaintiffs must show that their individual members

have standing. In its memorandum opinion addressing Defendants’ Motion to Dismiss, the

Court found that plaintiff Make the Road New York had standing to bring an equal protection

claim on behalf of its members because it had identified one member, Perla Lopez, who alleged

sufficient facts to establish her standing. ECF No. 70, at 30-32. But it does not appear that

Plaintiffs intend to rely on evidence from Ms. Lopez, or any other Make the Road New York

member, at trial to establish that member’s individual standing. Defendants will therefore

renew their arguments that Plaintiffs lack third-party standing to bring their equal-protection

claim.

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    II. The Secretary’s Decision Was Reasonable And Comports With The
        Administrative Procedure Act

        Plaintiffs indicate that they will attempt to show how the Secretary’s decision to

reinstate a citizenship question was arbitrary and capricious through the following dubious

techniques: cherry-picking out-of-context statements from the record, intentionally

misreading agency statements or processes, and ignoring the practical realities of Voting Rights

Act litigation. It is Plaintiffs’ burden to show that the Secretary’s decision was not reasonable.

See City of Olmsted Falls v. FAA, 292 F.3d 261, 271 (D.C. Cir. 2002) (“[T]he party challenging

an agency’s action as arbitrary and capricious bears the burden of proof . . . . Indeed, even

assuming the [agency] made missteps . . . the burden is on petitioners to demonstrate that the

[agency’s] ultimate conclusions are unreasonable.” (internal punctuation and citations

omitted)). Plaintiffs cannot meet this burden because “the agency has ‘examine[d] the relevant

data and articulate[d] a satisfactory explanation for its action including a rational connection

between the facts found and the choice made.’” Waterkeeper All., Inc. v. U.S. EPA, 399 F.3d

486, 498 (2d Cir. 2005) (citation omitted). As explained in Defendants’ Pretrial Memorandum,

under the arbitrary and capricious standard, that is all the law requires—a court need not

determine whether the decision “is the best one possible or even whether it is better than the

alternatives.” FERC v. Elec. Power Supply Ass’n, 136 S. Ct. 760, 782 (2016).

        a.      Plaintiffs argue that the Secretary’s decision was unreasonable because the

Secretary failed to adhere to a “well-established” process for adding a question to the census

questionnaire. Pls.’ Pretrial Mem. at 26, 27-28, 31. This assertion is incorrect. Because the

addition of questions on the decennial census questionnaire has not been a regular occurrence

in recent decades, there is no established process for doing so. The process that Plaintiffs

claim was not followed was developed for the American Community Survey (“ACS”), a

different instrument with different considerations and goals, and Defendants reasonably
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determined that the ACS process did not apply to the decennial census here. Accordingly, the

Secretary did not act arbitrarily by following a more informal process. Similarly, the Secretary

did not violate 13 U.S.C. § 141(f)(3). Rather, the decision to reinstate a citizenship question

underwent thorough review and deliberations, including, significantly, the consideration of

alternatives. See Defs.’ Pretrial Mem. at 25 (describing the Secretary’s decisionmaking process).

As to the pretesting requirement much belabored by Plaintiffs (Pls.’ Pretrial Mem. at 23-25),

it is accepted practice for one survey to use another survey’s thoroughly-tested question

without requiring additional testing. Defs.’ Pretrial Mem. at 25-26, 27; Defs.’ Response to

Request for Admission 42. Plaintiffs’ suggestion that more testing was somehow required

should be rejected.

        b.      Plaintiffs question the Secretary’s rationale for the decision—to provide better

data for enforcement of the Voting Rights Act—arguing that the data obtained from a

citizenship question on the decennial census will not be better. Specifically, Plaintiffs allege

that “[t]he citizenship question will lead to lower quality citizenship data” because noncitizens

do not always accurately report their status, Pls.’ Pretrial Mem. at 17-18, and that “there is no

evidence that census responses will result in better block-level data for VRA enforcement”

because of the confidentiality concerns that will affect the granularity of the data that can be

published. Id. at 18-19. But, as Secretary Ross’s decision shows, the agency was more than

aware of research indicating that noncitizens may not always accurately report their lack of

citizenship. Administrative Record (“AR”) at 1317. It was for this reason that Secretary Ross

opted for what he termed “Option D,” which combines reinstating the citizenship question

with the use of administrative data to evaluate the accuracy of reported citizenship. Id. Thus,

rather than ignoring this problem, the Secretary explicitly took this factor into account. The

Census Bureau is also evaluating how to process the data that will be obtained from the census

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to make it as accurate as possible, consistent with its confidentiality requirements. The

Secretary reasonably relied on the ability of the Bureau to address these issues successfully,

and Plaintiffs’ cynical conclusions are unwarranted.

       c.      Relatedly, Plaintiffs argue that the Secretary arbitrarily rejected the alternative

of relying solely on administrative records to obtain citizenship data and did not meet with

DOJ to assess whether that solution would satisfy their needs. Pls.’ Pretrial Mem. at 19-20.

However, the record reflects that the Secretary fully considered this alternative; the Secretary

decided it was not the best choice because the Census Bureau’s ability to use such records was

“still evolving” and it did not yet have sufficient administrative records to provide complete

coverage. AR 1316. The Secretary therefore fully examined this alternative, which is all the

Administrative Procedure Act (“APA”) requires. See FERC, 136 S. Ct. at 782 (“[T]he court

must uphold a rule if the agency has ‘examine [d] the relevant considerations] and articulate[d]

a satisfactory explanation for its action[.]’”). Further, the decision not to meet with DOJ was

made by DOJ, not the Department of Commerce or the Census Bureau. Secretary Ross

cannot be held accountable for another agency’s determination regarding the necessity of a

meeting.

       d.      Plaintiffs go beyond questioning the fit between the Secretary’s decision and

its stated purpose and suggest that block-level CVAP data are never necessary to enforce the

Voting Rights Act (“VRA”). Pls.’ Pretrial Mem. at 20-22. This is manifestly untrue, as

Plaintiffs themselves acknowledge (id. at 22) that CVAP block-level data is often necessary in

such cases. See Rodriguez v. Harris Cty., 964 F. Supp. 2d 686, 731 & n.6 (S.D. Tex. 2013), jdgmt

aff’d, 601 F. App’x 255 (5th Cir. 2015); Fabela v. City of Farmers Branch, No. 3:10-CV-1425-D,

2012 WL 3135545, *5 (N.D. Tex. Aug. 2, 2012). To date, as Plaintiffs recognize, this need has

been fulfilled by estimating block-group ACS data down to the block level. See Fabela, 2012

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WL 3135545, at *5 (expert’s “calculation resulted in a CVAP estimate for each block”). But

the Secretary’s decision was to provide more granular data that would not require the same

process of estimation to produce this necessary information. Plaintiffs cannot show that such

data would not be useful in VRA cases.

       e.      Plaintiffs also assert that the Secretary underestimated the effects of the

question on the self-response rate or the eventual undercount or even ignored “empirical data”

on that subject. Pls.’ Pretrial Mem. at 22-23. However, the “empirical data” to which Plaintiffs

apparently refer (AR 1277, 1308, 8614, 11634) are the Census Bureau’s analyses conducted as

part of the Secretary’s decisionmaking process, which the Secretary clearly considered. AR

1315-1319. After full examination of these studies, the Secretary decided, in the exercise of

his discretion, that these analyses were less probative than the Census Bureau believed because

they were not based on a controlled, empirical study of the citizenship question’s impact on

response rates. Id. at 1315-1316. The Secretary’s determination was reasonable, particularly

in light of the Census Bureau’s plans for comprehensive nonresponse follow-up.

       f.      Finally, Plaintiffs’ allegations that the Secretary prejudged the issue in early

2017 and that the Department of Commerce then concealed this fact and “engaged in a

concerted effort to bowdlerize the administrative record” constitutes blatant cherry-picking of

isolated statements. Pls.’ Pretrial Mem. at 25-27. The Secretary’s at-times emphatic language

merely reflected a concern that the issue be resolved by March 2018, not a desire that it be

resolved in a particular way.        Similarly, his pre-decisional statement regarding the

administrative record reflects a concern, as he stated, that the process be “diligent[ly]”

documented, AR 12476, not that a false record be created.




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    III. The Secretary’s Decision Was Not Motivated by Discriminatory Purpose

        Plaintiffs ask the Court to infer discriminatory intent because they do not have any

direct evidence that Secretary Ross was motivated by any such purpose. But there is no basis

to draw such an extraordinary inference in this case.           Plaintiffs’ argument that the

reinstatement of the citizenship question violates the Equal Protection Clause hinges on their

attempt to link Secretary Ross to other people—i.e., Kris Kobach, Steve Bannon, the Attorney

General, and the President—who supposedly acted with discriminatory purpose. Pls.’ Pretrial

Mem. 30-31, 33-34. At trial, however, Plaintiffs will introduce no evidence that these

individuals acted for with an illicit motive, nor any evidence that the Secretary’s decision was

influenced by the same. Plaintiffs’ equal protection argument amounts to no more than a

clever reframing of their APA argument that the Secretary’s decisionmaking process was

flawed. According to Plaintiffs, discriminatory decisions are arbitrary and irregular; the

Secretary’s decision was arbitrary or irregular; therefore, the Secretary’s decision must reflect

discriminatory bias. The Court should reject this faulty reasoning.

                                       CONCLUSION

        For the foregoing reasons and for the reasons stated in Defendants’ Pretrial

Memorandum, the Court should dismiss this case as nonjusticiable, or, alternatively, enter

judgment in Defendants’ favor.




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Dated: October 31, 2018            Respectfully submitted,

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